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               IN THE UNITED STATES DISTRICT COURT
      FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

PARVEEN IDRIS, BINDER ELECTRIC           )
SERVICE CO., and KJJ ENTERPRISE INC.,    )
individually and on behalf of all similarly
                                         )
situated persons and entities, and CITY OF
                                         )
CHICAGO EX REL. ROBERT GREEN,            )
                                         )
                     Plaintiffs,         )
                                         )
      v.                                 )          No. 06 C 6085
                                         )
CITY OF CHICAGO, CHICAGO OFFICE OF )                Judge Robert W. Gettleman
EMERGENCY MANAGEMENT AND                 )
COMMUNICATIONS, CHICAGO                  )          Magistrate Judge Mason
DEPARTMENT OF REVENUE, CHICAGO           )
DEPARTMENT OF ADMINISTRATIVE             )
HEARINGS, RICHARD M. DALEY, and          )
REDFLEX TRAFFIC SYSTEMS, INC., a foreign )
corporation,                             )
                                         )
                     Defendants.         )

       FIRST AMENDED COMPLAINT FOR DECLARATORY JUDGMENT,
                WRIT OF CERTIORARI AND OTHER RELIEF

      NOW COME Plaintiffs PARVEEN IDRIS, BINDER ELECTRIC SERVICE CO. and

KJJ ENTERPRISE INC., individually and on behalf of all similarly situated persons and

entities, and CITY OF CHICAGO ex rel. ROBERT GREEN, by counsel ROBERT A.

HOLSTEIN of HOLSTEIN LAW OFFICES, LLC, C. COREY S. BERMAN of the LAW

OFFICE OF C. COREY S. BERMAN, LTD., RICHARD E. SCHIMMEL, WILLIAM J. HARTE

of the WILLIAM J. HARTE LTD., and EDWARD L. COOPER of KIESLER & BERMAN and

complain of the Defendants CITY OF CHICAGO, CHICAGO OFFICE OF EMERGENCY

MANAGEMENT AND COMMUNICATIONS, CHICAGO DEPARTMENT OF REVENUE,
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CHICAGO DEPARTMENT OF ADMINISTRATIVE HEARINGS, RICHARD M. DALEY

and REDFLEX TRAFFIC SYSTEMS, INC., a foreign corporation, as follows:

                                           PARTIES

       1.     At all times relevant herein, Plaintiffs were residents of the state of Illinois,

county of Cook.

       2.     At all times relevant herein, Plaintiff Robert Green was a resident and

taxpayer of the City of Chicago.

       3.     Defendant City of Chicago is a municipal corporation, duly incorporated

under the laws of the State of Illinois.

       4.     Defendant Chicago Office of Emergency Management and Communications

is an agency of the City of Chicago and is responsible for the overall implementation and

operation of the Chicago Red Light Camera Enforcement Program (“the Red Light

Program”).

       5.     Defendant Chicago Department of Revenue is an agency of the City of

Chicago and is responsible for processing all city collections concerning the Red Light

Program, administering and enforcing the city tax code, management of parking meters,

booting, parking ticket issuance, and residential disabled parking sign program.

       6.     Defendant Chicago Department of Administrative Hearings is an agency of

the City of Chicago and is responsible for conducting hearings and issuing determinations

concerning matters alleged herein.




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      7.     Defendant Chicago Office of Emergency Management and Communications,

Defendant Chicago Department of Revenue, Defendant Chicago Department of

Administrative Hearings and all agents and representatives thereof are collectively

referred to herein as the “City of Chicago” or the “City”.

      8.     Defendant Richard M. Daley is the duly elected Mayor of the City of Chicago,

responsible for enforcing the laws and ordinances of the City of Chicago.

      9.     Defendant Redflex Traffic Systems, Inc. is a foreign corporation qualified to

do business and doing business in the state of Illinois, county of Cook.

                                NATURE OF THE CASE

      10.    Each of the Plaintiffs and putative class members received Red Light

Violation notices pursuant to Chapter 9 of the Municipal Code of the City of Chicago

entitled “Vehicles, Traffic and Rail Transportation”.

      11.    Each of the putative class representative Plaintiffs was not driving the vehicle

at the time of the alleged Red Light Violation for which they and/or their vehicle were

charged as alleged herein.

      12.    The City of Chicago sends its Complaints of Red Light Violations

(“Complaints”) to the registered owners of the alleged offending vehicles.

      13.    The Complaints issued by the City of Chicago to named Plaintiffs and class

plaintiffs describe the violation as a “Red Light Violation” issued pursuant to Municipal

Ordinance 9-102-020 (See Exhibit “A”.) The Complaints generally allege that the alleged




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offending vehicles failed to obey the traffic-control device placed at the relevant

intersection.

       14.      The Complaints do not name or identify the driver of the targeted vehicle.

The Complaints identify the time and place of the alleged violation and the license plate

number together with the State of issuance of the plate, the fine amount of $90.00 and the

payment or contest date which is 35 days subsequent to the date of the alleged violation.

       15.      The Complaint does not provide that the recipient of the Complaint may

request a jury trial for the alleged charges.

       16.      The Complaints received by the registered owner of the vehicle also contain

photographs of the vehicle appearing to violate a red light within the City of Chicago

and/or the State of Illinois.

       17.      The Complaint is issued by mail.

       18.      Subsequent to the payment date, if no payment is received or hearing

requested by the licensee of the ticket, the registered owner of the vehicle receives a Notice

of Determination from the City. The Notice of Determination declares that there has been

a “determination of liability” but it does not state against whom the liability has been

determined or what the violation was other than “red light violation”. (See Exhibit “B”.)

       19.      In the event the registered owner of the vehicle who received the notice of the

Red Light Violation does not pay the $90.00 fine, or unsuccessfully contests the alleged

Violation, the determination of liability automatically results in a “Judgment” against the




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registered owner, regardless of whether the registered owner was the operator of the

vehicle that allegedly violated the red traffic light signal. (See Exhibit “C”.)

       20.      After Judgment is entered, a law firm retained by the City of Chicago sends

out a “Notice of Judgment” to the registered owner that describes the “Citation” or

Complaint number, the “Tag Number” (which is unexplained), the “make” which is filled

in as “othr”, the offense date and place of offense, giving the address of the alleged

violation, the amount of fine ($90.00) and the description “Red Light Violation”. (See

Exhibit “D”).

       21.      In the notice sent by the City’s law firm to registered owners of the alleged

offending vehicles, the violation, judgment and fine is described as a “Parking Citation”

and advises registered owners that they have been “found . . . liable for one or more

parking ordinance violations.”

       22.      The City publicizes the Red Light Program by writing that “as the registered

owner of the vehicle, one has a legal responsibility for all parking finds and non-moving

v i o l a t i o n s         a s s i g n e d        t o     y o u r       v e h i c l e . ”

(http://egov.cityofchicago.org/city/webportal/portal

ContentItemAction.do?BV_SessionID=@@@@1869085584.1159194970@@@@&BV_Engin

eID=ccccaddilkjhllkcefecelldffhdfgm.0&contentOID=536909834&contenTypeName=CO

C_EDITORIAL&topChannelName=Dept&blockName=Emergency+Communications%

2FRed-Light+Camera+Enforcement%2FI+Want+To&context=dept&channelId=0&prog




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ramId=0&entityName=Emergency+Communications&deptMainCategoryOID=-536893

734). (Exhibit “E”).

       23.    The City does not admit that the Red Light Program governs only moving

violations.

       24.    Because of the statutory and ordinance conflicts set forth below and because

of the constitutional violations set forth below, the City did not have jurisdiction prior to

May 22, 2006 and does not have jurisdiction after May 22, 2006 to prosecute the alleged

violations as set forth in Chapter 9-102 of the Chicago Municipal Code.

                                    PARVEEN IDRIS

       25.    Plaintiff Parveen Idris of 314 Meadowlark Road, Bloomingdale, Illinois, was

notified of an alleged “Red Light Violation” by way of a Complaint dated 02/04/06 for an

alleged violation having occurred at 3400 W. Peterson Avenue on 1/06/06 at 12:45.

(Exhibit “A”). The vehicle was not described in the notice; the time of day (whether P.M.

or A.M.) was not stated; and the alleged wrongful conduct was not described. Most

importantly, the driver of the vehicle was not named or charged in the violation. The “Red

Light Violation” stated that the “payment or contest date” was 2/18/06.

       26.    At all times relevant thereto, Plaintiff Idris was outside of the United States

of America, having departed O’Hare Airport on December 23, 2005 on Turkish Airlines,

returning to O’Hare Airport on January 20, 2006.

       27.    Upon her return, Idris found the notice and wrote a letter to the Chicago

Department of Revenue contesting the legality of the “Red Light Violation” as to her and


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the parking violation in general, explaining that it was impossible for her to have had a

“moving” violation of having failed to obey a red light since she could not have been

driving her vehicle at the time; and the Citation was wrongly characterized as a parking

violation. However, in order to avoid late fees, to avoid further prosecution and to avoid

further collection efforts by the City, Plaintiff Idris also sent a payment together with the

letter of protest. The payment was in the amount of $90.00 by credit card.

       28.    Thereafter, Plaintiff Idris received a letter dated 3/29/06 from the Chicago

Department of Administrative Hearings denying her protest and demanding payment of

additional $90.00 (See Exhibit “F”.) Upon receipt of Exhibit “F”, Plaintiff Idris sent another

letter of protest. Thereafter, another notice of “payment is due immediately” was received

by Plaintiff. (See Exhibit “C”.)

       29.    Immediately, Plaintiff Idris sent another letter (Exhibit “G”) stating that she

was enclosing $90.00 for the second time.

                           BINDER ELECTRIC SERVICE CO.

       30.    Plaintiff Binder Electric Service Co. (hereinafter “Binder”) is located at 5028

Estes Avenue, Skokie, Illinois.

       31.    On or about May 20, 2006, Binder received a notice of judgment from City of

Chicago attorneys alleging a judgment against it for a parking violation, referencing

citation number 7000238228, on 6/24/05 at 2400 West Peterson in the amount of $90.00

described as “Red Light Violation”. Also described was a “Tag No. 1824YGB”. Binder has

not paid the parking violation described. (See Exhibit “D”).


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       32.    At no time was an authorized agent of Binder or its sole owner Irving Binder

driving the vehicle described in Exhibit “D”, nor is Irving Binder aware of the identity of

the driver.

                                  KJJ ENTERPRISE INC.

       33.    Plaintiff KJJ Enterprise Inc. is located at 105 Hamilton Avenue, Bensenville,

IL 60106.

       34.    On or about June 17, 2006, KJJ received a Complaint from the City (Ticket

Number 7000454357/Notice No. 5056549490) (Exhibit “H”) alleging a “Red Light

Violation”. Also described was Plate/State/Type/Vehicle Make 6209198 IL. KJJ paid the

parking violation described in order to avoid late fees, prosecution by the City of Chicago

and further collection efforts by the City or its agents.

                            THE RED LIGHT CONTRACT

       35.    On or about October 17, 2003, the City entered into an Agreement with

Defendant Redflex Traffic Systems, Inc. for, among other things, the purchase, installation,

maintenance and monitoring of red light camera systems throughout the City.

       36.    The Agreement for the Digital Automated Red Light Enforcement Program,

included payment for additional services provided to the City by Redflex, including the

collection, review, weeding out and tendering of evidence to be subsequently used by the

City in its Red Light Enforcement Program.




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       37.      The Agreement has been extended and modified from time to time by the

City and Redflex. The extensions and modifications did not substantially alter the

provisions of the original Agreement as those provisions are relevant to this lawsuit.

       38.      Among other things, the Agreement provides that the City paid and is to pay

Redflex on a contingency basis based on Redflex’ ability to provide the City with certain

amounts of evidence that the City can use in its prosecution of alleged red light violations.

       39.      With respect to Redflex’ compensation for its services, the Agreement

provides, in pertinent part, as follows:

                                           ARTICLE 7

                               VENDOR COMPENSATION

                7.1   Basis of Payment

                      The City will pay Vendor according to the Schedule of Compensation
                      contained in attached Exhibit 2.1

                                              ***



       1
           Exhibit 2 to the Agreement provides, in pertinent part, as follows:

       Vendor will invoice the City in the amount of $85,000 for each System that the
City accepts. The $85,000 amount for each System includes Vendor’s compensation for
the System and all Redflex Program services and work provided to the City, including
Vendor’s:
                                            ***
       (c)    for 12 months following System Acceptance of that System: System
              operation services, Digital Image Verification services . . .; and reporting
              services; and

       (d)      storage of digital image and related data for 2 years from the date such
                digital image and data were produced.

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              7.4    Reduction of Compensation

              (b)    For each System that is not operational (in accordance with the terms
                     of this Agreement) 95 percent of any consecutive 30-day period, the
                     City will suffer harm that is difficult or impossible to calculate,
                     including loss of revenue relating to Red Light Violations for which
                     citations were not issued. To help defray these losses, Vendor will
                     pay the City for each System that is operational less than 95 percent
                     of any consecutive 30-day period, as liquidated damages, and not as
                     a penalty, $250 multiplied by the difference between 95 percent and
                     the percentage that the System was operational during that 30-day
                     period, but not more than $1,250 per System per 30-day period.

              (c)    For purposes of this Section 7.4(c), “Program-wide Enforceability
                     Percentage” means the number of Enforceable Images from all
                     Systems during any consecutive 30-day period divided by the
                     aggregate number of Red Light Violations from all Systems during
                     that consecutive 30-day period, multiplied by 100. For purposes of
                     this Section 7.4(c), “System Enforceability Percentage” means the
                     number of Enforceable Images2 from a System during any consecutive
                     30-day period divided by the number of Red Light Violations from
                     that System during that consecutive 30-day period, multiplied by 100.
                     If the Program-wide Enforceability Percentage is less than 85, then
                     the City will suffer harm that is difficult or impossible to calculate,
                     including loss of revenue relating to Red Light Violations for which
                     citations were not issued. To help defray these losses, Vendor will
                     pay the City as liquidated damages, and not as a penalty, for each
                     consecutive 30-day period in which the Program-wide Enforceability
                     Percentage is less than 85, an amount equal to the product of $85
                     multiplied by (i) multiplied by (ii) where:




       2
         Article 2.1 of the Agreement provides that the term “‘Enforceable Image’
means that the photographic image (produced by a System and submitted by Vendor
to the City) of a vehicle and the vehicle registration plate of that vehicle, when the
vehicle . . . is used in violation of Sections 9-8-020(c) or Section 9-16-030(c) of Municipal
Code of the City of Chicago, is of sufficient clarity and contains such information as is
necessary (including clearly depicting the red traffic light) for the City to issue a
citation for a violation of Section 9-102-020 of the Municipal Code of the City of
Chicago, as determined by the City.” (Emphasis added).

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                            (i) = the lesser of 5 or the difference between 85 minus the
                            Program-wide Enforceability Percentage for the applicable
                            consecutive 30-day period;

                            (ii) = the number of Systems.

              (d)    The value of the Systems to the City is based, in part, on Vendor’s
                     providing the support, maintenance, repair, digital image
                     verification and web-based authorization services in accordance
                     with the terms of this Agreement . . .

(Emphasis added).

       40.    The net effect of the Agreement’s compensation provisions is that Redflex’

full payment is contingent on its cameras allowing the City to issue Red Light violation

citations over 85 percent of the time.

       41.    With respect to the services that the City requires Redflex to perform, the

Agreement provides in pertinent part as follows:

                                         EXHIBIT 1

              D.     Digital Image Verification and Storage/Revenue Coordination

                     Within 2 business days following the date on which an apparent Red
                     Light Violation is recorded by a System, Vendor will perform Digital
                     Image Verification and transfer to the Department of Revenue those
                     digital images that Vendor reasonably believes would constitute
                     Enforceable Images (the “Verification Images”). Vendor will
                     provide the City with internet access to Vendor’s “Police
                     Authorization” module to enable the Department of Revenue to
                     review the Verification Images (see paragraph E. below). Within 2
                     days following notice from the Department of Revenue, Vendor will
                     transfer (via an FTP site) to the Department of Revenue those digital
                     images that the Department of Revenue has determined constitute
                     Enforceable Images . . . Vendor will store all images produced by the
                     Systems and related data for 2 years from the date that such image
                     and data were produced.


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         E.     Web-Based Authorization Services

                Vendor will provide web-based access to the City for verifying Red
                Light Violations . . . Vendor’s web-based access will provide the City
                the ability to review and approve or reject Red Light Violations . . .
                Vendor will provide the City with web-based access to reports
                regarding the quantities of Red Light Violations from each System
                and the reasons for Vendor’s determining that an image was not a
                Verification Image.

                                   EXHIBIT 4

   Equipment Maintenance and Support

         On a daily basis Vendor will ensure that each System meets the following
         parameters and will perform the following performance tests:

         a.     the camera has a valid certificate to ensure it is authorized to
                process encrypted information;

         b.     the enforcement mode is enabled and in the correct mode (e.g. red
                light only, speed only or both);

         c.     the time in the red phase at which point the cameras capture Red
                Light Violations is properly configured;

         d.     the detection device that interfaces to the external input signals at
                the intersection (i.e. inductive loop signals) is configured and
                functioning correctly;

         e.     each lane enforced has the appropriate image capture settings
                configured to capture the offending vehicle at the appropriate time
                during the violation, and that it is set to the correct enforcement
                mode (e.g. red light only, speed only or both);

         f.     the System settings are properly set (e.g., the speed limit is selected
                to be imprinted on the violation, the data block as accurate
                information identifying the proper location, machine identification
                and software version used; the loop separation is accurate in
                accordance with loop installation positioning; and the individual



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                     cameras aperture, focus, zoom and exposure are properly
                     configured for each individual camera);

              g.     the download folder (where the Red Light Violation digital images
                     are stored locally until Vendor downloads them) is properly
                     configured;

              h.     the detection systems have proper activity and signaling
                     sequencing (e.g. the detection device is communicating with the
                     main camera system; red and green phase indications are
                     represented for each signal phase change; still images can be
                     captured in real time remotely to verify that the phase message
                     received from the detection device corresponds to the phase shown
                     in the live still image taken; and each lane being monitored by the
                     detection device has the appropriate number of messages to
                     capture an offending vehicle); and

              i.     a real time offense simulation system check is performed during
                     the “green phase” of the signaling to verify proper operation and
                     sequencing of image sets. This final check simulates a Red Light
                     Violation to verify all system parameters including image capture
                     and encryption packaging are functioning properly.

(Emphasis added).

       42.    Article 10.1 of the Agreement provides as follows:

              10.1   Compliance With All Laws Generally

              Vendor must observe and comply with all applicable federal, state, county
              and municipal laws, statutes, ordinance and executive orders, in effect
              now or later and whether or not they appear in this Agreement . . .

       43.    Pursuant to an Amendment to the Agreement dated December 19, 2003,

the City agreed to pay, and did pay, Redflex base compensation (subject to applicable

reductions and set offs) of up to $3,020,000.00 for the initial term of the Agreement.




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       44.    The City paid and/or is continuing to pay Redflex base compensation

(subject to applicable reductions and set offs) of up to an additional $13,449,000.00 for

the subsequent term of the Agreement beginning on October 22, 2005 and continuing

through October 21, 2008.

                   APPLICABLE ORDINANCES AND STATUTES

       45.    At all times relevant hereto there were in effect certain traffic laws of the

State of Illinois which provides as follows:

              a.     625 ILCS 5/1-105.5 (effective prior to May 22, 2006). Automated
                     red light enforcement system. A system in a municipality with a
                     population of 1,000,000 or more operated by a governmental
                     agency, in cooperation with a law enforcement agency, that
                     photographically records a motor vehicle's response to a traffic
                     control signal with a red light indication and is designed to obtain a
                     clear photograph of the vehicle and the vehicle's license plate when
                     the motor vehicle is involved in a motor vehicle accident, leaving
                     the scene of a motor vehicle accident, or reckless driving that
                     results in bodily injury. (Emphasis added).

              b.     625 ILCS 5/11-207. The provisions of this Chapter shall be
                     applicable and uniform throughout this State and in all political
                     subdivisions and municipalities therein, and no local authority
                     shall enact or enforce any ordinance, rule or regulation in conflict
                     with the provisions of this Chapter unless expressly authorized
                     herein. Local authorities may, however, adopt additional traffic
                     regulations which are not in conflict with the provisions of this
                     Chapter, but such regulations shall not be effective until signs
                     giving reasonable notice thereof are posted.

              c.     625 ILCS 5/11-208.1. The provisions of this Chapter of this Act, as
                     amended, and the rules and regulations promulgated thereunder
                     by any State Officer, Office, Agency, Department or Commission,
                     shall be applicable and uniformly applied and enforced throughout
                     this State, in all other political subdivisions and in all units of local
                     government.


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         d.     625 ILCS 5/11-208.2. The provisions of this Chapter of this Act
                limit the authority of home rule units to adopt local police
                regulations inconsistent herewith except pursuant to Sections 11-
                208 . . .

         e.     625 ILCS 5/11-208(f) (not effective prior to May 22, 2006). A
                municipality or county designated in Section 11-208.6 [related to
                home rule units] may enact an ordinance providing for an
                automated traffic law enforcement system to enforce violations of
                this Code or a similar provision of a local ordinance and imposing
                liability on a registered owner of a vehicle used in such a violation.

         f.     625 ILCS 5/11-208.6 (not effective prior to May 22, 2006).
                Automated traffic law enforcement system. (a) used in this Section,
                “automated traffic law enforcement system” means a device with
                one or more motor vehicle sensors working in conjunction with a
                red light signal to produce recorded images of motor vehicles
                entering an intersection against a red signal indication in violation
                of Section 11-306 of this Code or a similar provision of a local
                ordinance . . .

         g.     625 ILCS 5/11-305. (effective both prior to and after May 22,
                2006). Obedience to and required traffic-control devices. (a) The
                driver of any vehicle shall obey the instructions of any official
                traffic-control device applicable thereto placed or held in
                accordance with the provisions of this Act, unless otherwise
                directed by a police officer, subject to the exceptions granted the
                driver of an authorized emergency vehicle in this Act. (Emphasis
                added).

         h.     625 ILCS 5/11-306(c)(5) (effective prior to May 22, 2006). A
                municipality with a population of 1,000,000 or more may enact an
                ordinance that provides for the use of an automated red light
                enforcement system to enforce violations of this subsection (c) that
                result in or involve a motor vehicle accident, leaving the scene of a
                motor vehicle accident, or reckless driving that results in bodily
                injury.

         i.     625 ILCS 5/16-104. (effective both prior to and after May 22,
                2006). Penalties. Every person convicted of a violation of any
                provision of this Code for which another penalty is not provided


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                     shall, for a first or second conviction thereof, be guilty of a petty
                     offense and, for a third or subsequent conviction within one year
                     after the first conviction, be guilty of a Class C misdemeanor.

              j.     725 ILCS 5/103-6. Waiver of jury trial. Every person accused of an
                     offense shall have the right to a trial by jury unless (i)
                     understandingly waived by defendant in open court or (ii) the
                     offense is an ordinance violation punishable by fine only and the
                     defendant either fails to file a demand for a trial by jury at the time
                     of entering his or her plea of not guilty or fails to pay to the clerk of
                     the circuit court at the time of entering his or her plea of not guilty
                     any jury fee required to be paid to the clerk.

(Emphases added).

       46.    Section 9-102-020 of the Chicago Municipal Code provided at all relevant

times after July 9, 2003 as follows:

              (a) The registered owner of record of a vehicle is liable for a violation of
              this section and a fine of $90.00 when the vehicle is used in violation of
              Section 9-8-020(c) or Section 9-16-030(c) and that violation is recorded by a
              traffic control signal monitoring device. A photographic recording of a
              violation obtained by a traffic control signal monitoring device shall be
              prima facie evidence of a violation of this chapter. It shall be a defense to a
              violation of this section that:

                     (1) The operator of the vehicle was issued a uniform traffic
                     citation for a violation of Section 9-8-020(c) or Section 9-16-030(c); or

                     (2) The violation occurred at any time during which the vehicle
                     or its state registration plates were reported to a law enforcement
                     agency as having been stolen and the vehicle or its plates had not
                     been recovered by the owner at the time of the alleged violation; or

                     (3) The vehicle was leased to another, and, within 60 days after
                     the citation was mailed to the owner, the owner submitted to the
                     department of revenue the correct name and address of the lessee
                     of the vehicle identified in the citation at the time of the violation,
                     together with a copy of the lease agreement and any additional
                     information as may be required by the department. Where the


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                     lessor complies with the provisions of this section, the lessee of the
                     vehicle at the time of the violation shall be deemed to be the owner
                     of the vehicle for purposes of this chapter. The department of
                     revenue, within 30 days of being notified by the lessor of the name
                     and address of the lessee, shall mail the lessee a citation which
                     contains the information required under Section 9-102-030. For the
                     purposes of this chapter, the term "leased vehicle" shall be defined
                     as a vehicle in which a motor vehicle dealership or manufacturer
                     has, pursuant to a written document, vested exclusive possession,
                     use, control and responsibility of the vehicle to the lessee during
                     the periods the vehicle is operated by or for the lessee.

             (b) The provisions of this section do not apply to any authorized
             emergency vehicle or any vehicle lawfully participating in a funeral
             procession.

             (c) Nothing in this section shall be construed to limit the liability of an
             operator of a vehicle for any violation of Section 9-8-020(c) or Section
             9-16-030(c).

      47.    Section 9-8-020(c) of the Chicago Municipal Code provided at all relevant

times as follows:

             Whenever traffic is controlled by traffic-control devices exhibiting steady
             colored lights, successively one at a time, in combination or with arrows,
             the following colors only shall be used and the signals shall indicate and
             apply to drivers of vehicles and pedestrians as follows:

             (c)    Steady Red Indication.

                     (1) Except as provided in Section 9-16-030, vehicular traffic facing
                     a steady circular red signal alone shall stop at a clearly marked stop
                     line, but if none, before entering the crosswalk on the near side of
                     the intersection, or if none, then before entering the intersection and
                     shall remain standing until an indication to proceed is shown.

                     (2) Except as provided in Section 9-16-030, vehicular traffic facing
                     a steady red arrow signal shall not enter the intersection to make
                     the movement indicated by the arrow and, unless entering the
                     intersection to make a movement permitted by another signal, shall


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                     stop at a clearly marked stop line, but if none, before entering the
                     crosswalk on the near side of the intersection, or if none, then
                     before entering the intersection and shall remain standing until an
                     indication permitting the movement indicated by such red arrow is
                     shown.

(Emphasis added).

       48.    Section 9-16-030(c) of the Chicago Municipal Code provided at all relevant

times as follows:

              Drivers may not turn left or right on a steady red signal when official
              traffic-control devices have been erected indicating that such turns are
              prohibited.

(Emphasis added).

       49.    At all relevant times, there was in full force and effect in the state of

Illinois the Employment of Detectives by Public Officials Act, 5 ILCS 305/1, which

provided as follows:

       No State, county or municipal officer, whose duty it is to investigate the
       commission of any crime or to prosecute persons accused of crime, shall
       employ any detective or investigator on a compensation basis other than
       that of time, and in no event shall compensation to such persons be
       contingent on the success of the investigation or prosecution. Evidence
       obtained in violation of this act shall be inadmissible in any court in this
       State for any purpose and any person employed in violation of this act
       shall be incompetent to testify in any court as to any information or
       evidence acquired by him in such employment.

       50.    At all relevant times, there was in full force and effect in the state of

Illinois the following statute, 65 ILCS 5/1-5-1:

       A suit may be brought by any taxpayer, in the name and for the benefit of
       the municipality, against any person to recover any money or property



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      belonging to the municipality, or for any money which may have been
      paid, expended, or released without authority of law . . .

                                CLASS ALLEGATIONS

      51.    This action is brought pursuant to 735 ILCS 5/2-801 which provides that a

case may be brought as a class action if

             (1)    The class is so numerous that joinder of all members is impracticable.

             (2)    There are questions of fact or law common to the class, which
                    common questions predominate over any question affecting only
                    individual members.

             (3)    The representative parties will fairly and adequately protect the
                    interest of the class.

             (4)    The class action is an appropriate method for the fair and efficient
                    adjudication of the controversy.

                                 CLASS DEFINITION

      52.    The Plaintiffs’ class definitions are as follows:

             A.     Class 1. Class 1 is defined as all persons or entities who, prior to May
                    22, 2006, received a Complaint for a Red Light Violation for a vehicle
                    of which he or she was the registered owner, the Complaint for which
                    alleged a violation of 625 ILCS 5/1-105.5 or 625 ILCS 5/11-305 or 625
                    ILCS 5/11-306(c)(5) or Sections 9-102-020, 9-8-010, 9-8-020 or 9-16-030
                    of the Municipal Code of Chicago.

             B.     Class 2. Class 2 is defined as all persons or entities who, on or after
                    May 22, 2006, received a Complaint for a Red Light Violation for a
                    vehicle of which he or she was the registered owner, the Complaint
                    for which alleged a violation of 625 ILCS 5/1-105.5 or 625 ILCS 5/11-
                    305 or 625 ILCS 5/11-306(c)(5) or Sections 9-102-020, 9-8-010, 9-8-020
                    or 9-16-030 of the Municipal Code of Chicago.

             C.     Class 3. Class 3 is defined as all persons and entities who have been
                    charged with an additional fine of $90.00 for have not timely complied


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                    with the payment provisions required under any section or subpart
                    of Title 9, Chapter 102 of the Municipal Code of Chicago.

                                    NUMEROSITY

      53.    Class adjudication is superior to all other available methods for adjudication

of this controversy, in that there are hundreds, perhaps thousands, of members of the

Plaintiff classes. The Plaintiff classes are so numerous that joinder of all members is

impracticable.

                   COMMON QUESTIONS OF FACT AND LAW

      54.    Common questions of law include but are not limited to:

             a.     Whether Section 9-102-020 of the Chicago Municipal Code
                    complied with Illinois statutory authority prior to or after May 22,
                    2006 and was or is enforceable;

             b.     Whether Section 9-102-020 of the Chicago Municipal Code
                    complied and complies with other sections of the Chicago
                    Municipal Code, including but not limited to Sections 9-8-020 and
                    9-16-030(c);

             c.     Whether Section 9-102-020 of the Chicago Municipal Code violated
                    the substantive due process rights of registered owners of vehicles
                    prior to and after May 22, 2006;
             d.     Whether Section 9-102-020 of the Chicago Municipal Code violated
                    the equal protection rights of registered owners of vehicles prior to
                    and after May 22, 2006;

             e.     The legality of issuing Red Light Violation Complaints to registered
                    automobile owners for conduct described by the Municipal Code of
                    Chicago and the State of Illinois that can only be conducted by the
                    “driver” or “operator” of a vehicle;

             f.     Whether the City can prosecute moving violations in a manner that
                    is inconsistent with Illinois law.

      55.    Common questions of fact include but are not limited to:

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                a.      Whether the notice of hearing or payment provisions of Red Light
                        Violations operate the same as other parking violations issued by
                        the City of Chicago;

                b.      Whether the default time allotted the defendant of when a fine will
                        double in amount is the same as in other traffic offenses;

                c.      Whether the City allows for jury trials for alleged Red Light
                        Violations;

                d.      Whether or not the Illinois Secretary of State treats “Red Light
                        Violations” as moving violations when they purport to be parking
                        violations?

                                           COUNT I

                     (Violation of Illinois Statutes - Prior to May 22, 2006)

          1 - 55. Plaintiffs replead paragraphs 1 through 55 above as paragraphs 1 through 55

of this Count I with the same force and effect as though fully set forth herein.

          56.   At all times relevant hereto (prior to May 22, 2006), Chapter 625 of the Illinois

Compiled Statutes restricted the use of automated red light enforcement systems to

situations “when the motor vehicle is involved in a motor vehicle accident, leaving the

scene of a motor vehicle accident, or reckless driving that results in bodily injury.” 625

ILCS 5/1-105.5; 625 ILCS 5/11-306(c)(5).

          57.   Prior to May 22, 2006, no Illinois statute existed that gave the City of Chicago,

or any other political subdivision, municipality or local authority, the power to use

automated red light enforcement systems or automated red light enforcement ordinances

in situations not involving motor vehicle accidents or reckless driving that results in bodily

injury.

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         58.   At all times relevant hereto (prior to May 22, 2006), Illinois statutes limited

liability for the failure to obey the instructions of any official traffic-control device to the

“driver” of any vehicle failing to obey such traffic-control device. 625 ILCS 5/11-305.

         59.   At all times relevant hereto, Illinois statutes gave a right to a jury trial to all

persons accused of a violation of any penal statute, including all moving violations.

         60.   At all times relevant hereto, Illinois statutes prohibited evidence obtained in

violation of 5 ILCS 305/1 from being admissible in any court in Illinois for any purpose.

5 ILCS 305/1.

         61.   On and after July 9, 2003 and prior to May 22, 2006, the City of Chicago

passed and enforced Section 9-102-020 of the Chicago Municipal Code, which authorized

the use of automated red light enforcement systems to identify vehicles allegedly violating

red traffic signals and to penalize the registered owners of such vehicles for the alleged acts

or omissions committed by the drivers thereof.

         62.   At all times relevant hereto, Illinois statutes prohibited all political

subdivisions, municipalities and local authorities, including the City of Chicago, from

enacting or enforcing any ordinance that conflicted with the provisions of Chapter 625 of

the Illinois Compiled Statutes. 625 ILCS 5/11-207; 625 ILCS 5/11-208.2.

         63.   At all times relevant hereto, Illinois statutes required the provisions of

Chapter 625 of the Illinois Compiled States and any rules and regulations promulgated

thereunder to be uniformly applied and enforced throughout the state. 625 ILCS 5/11-

208.1.


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       64.    Prior to May 22, 2006, Section 9-102-020 of the Chicago Municipal Code

conflicted with one or more Illinois statutes including, but not necessarily limited to, those

set forth above and was thus invalid and unenforceable on its face by, among other things:

              a.      shifting liability for red light violations from drivers to vehicle
                      owners;

              b.      allowing automated red light enforcement systems to be used in
                      situations other than those involving motor vehicle accidents or
                      reckless driving that results in bodily injury;

              c.      allowing unlawfully collected evidence to be used at red light
                      violation hearings; and

              d.      not allowing for jury trials for alleged violations.

       65.    At all times relevant hereto, including both before and after May 22, 2006, the

act of a driver failing to obey a red traffic signal constituted a criminal offense pursuant to

625 ILCS 5/11-305 and other Illinois statutes.

       66.    At all times relevant hereto, including both before and after May 22, 2006, the

act of a driver failing to obey a red traffic signal in the City of Chicago constituted a quasi-

criminal offense pursuant to 9-102-020 of the Chicago Municipal Code.

       67.    Pursuant to the Agreements entered into between the City of Chicago and

Defendant Redflex on or about October 17, 2003 and October 22, 2005, Defendant Redflex

agreed to, was obligated to and did in fact collect, examine and evaluate in a detailed

manner evidence that it collected related to whether drivers throughout the City of Chicago

failed to obey red traffic signals at intersections where Redflex had installed Digital

Automated Red Light Enforcement Systems.


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        68.       Pursuant to the Agreements entered into between the City of Chicago and

Defendant Redflex on or about October 17, 2003 and October 22, 2005, Redflex’

compensation was based in part on Redflex meeting an 85% success rate with being able

to provide the City of Chicago with “Enforceable Images”, defined as images being “of

sufficient clarity and contains such information as is necessary . . . for the City to issue a

citation . . .”

        69.       Pursuant to 9-102-020 of the Chicago Municipal Code, an Enforceable Image

constitutes prima facie evidence of a red light violation.

        70.       In violation of 5 ILCS 305/1, the City and its agents, which are and have been

investigating the commission of a crime or quasi-crime in the form of alleged red light

violations, have employed an investigator (Redflex) on a compensation basis other than

that of time and have made such compensation to Redflex partially contingent on the

success of Redflex’ investigation and the City’s prosecution of alleged red light violations.

        71.       The City of Chicago has collected millions of dollars through its unlawful

enforcement of Section 9-102-020 of the Chicago Municipal Code.

        72.       The payment of all fines and penalties by registered owners of vehicles

pursuant to Section 9-102-020 of the Chicago Municipal Code and its related ordinances

constituted payments made under duress and not made voluntarily.

        73.       Section 2-701 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-701,

provides that “[t]he Court may, in cases of actual controversy, make binding declarations

of rights, having the force of final judgments, whether or not any consequential relief is or


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could be claimed, including the determination, at the instance of anyone interested in the

controversy, of the construction of any statute, municipal ordinance, or other governmental

regulation . . . and a declaration of the rights of the parties interested.”

       74.    The parties herein are interested parties.

       75.    There exists a case of actual controversy in that the Defendants have collected

substantial sums of money pursuant to an invalid and unenforceable ordinance and will

not return any of the wrongfully collected funds without a declaration of the parties’ rights

herein.

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully pray that the Court issue the following relief:

       A)     Certify this law suit as a class action;

       B)     Appoint undersigned counsel as class counsel;

       C)     Construct a trust of all funds wrongfully taken by the Defendants;

       D)     Appoint a trustee to supervise an accounting, to take control of all
              wrongfully taken funds, and to supervise the relief to be ordered by the
              Court;

       E)     Enter judgment against the Defendants to disgorge all wrongfully taken
              funds with pre-judgment interest;

       F)     Award attorneys’ fees and such other relief as this Court deems just and
              proper.




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                                         COUNT II
                        (Violations of Due Process Provisions of the
                             Illinois Constitution (Substantive))

          1-75. Plaintiffs replead paragraphs 1 through 75 above as paragraphs 1 through 75

of this Count II with the same force and effect as though fully set forth herein.

          76.   Article I, Section 2 of the Illinois Constitution provides as follows:

          No person shall be deprived of life, liberty or property without due process
          of law nor be denied the equal protection of the laws.

          77.   The City’s “Red Light” program as described above violates the substantive

due process rights of the named plaintiffs and putative class plaintiffs by penalizing the

registered owners of vehicles for alleged acts or omissions committed by the drivers of

such vehicles, without regard for whether the registered owners were driving their vehicles

at the time of the alleged commission of the red light violation.

          78.   The promulgation and enforcement of Section 9-102-020 of the Chicago

Municipal Code and its related Sections bears no rational relationship to any legitimate

governmental purpose of the City of Chicago.

          79.   The promulgation and enforcement of Section 9-102-020 of the Chicago

Municipal Code and its related Sections is arbitrary, capricious and unreasonable in that

the ordinance makes irrelevant whether the penalized party actually violated a red traffic-

signal.

          80.   Further, the enforcement of Section 9-102-020 of the Chicago Municipal Code

requires the City to use evidence obtained in violation of 5 ILCS 305/1, which evidence is

statutorily inadmissible pursuant to 5/ILCS 305/1.

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        81.   The City of Chicago has collected hundreds of thousands or millions of

dollars through its unlawful enforcement of Section 9-102-020 of the Chicago Municipal

Code.

        82.   The payment of all fines and penalties by registered owners of vehicles

pursuant to Section 9-102-020 of the Chicago Municipal Code and its related ordinances

constituted payments made under duress and not made voluntarily.

        83.   Section 2-701 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-701,

provides that “[t]he Court may, in cases of actual controversy, make binding declarations

of rights, having the force of final judgments, whether or not any consequential relief is or

could be claimed, including the determination, at the instance of anyone interested in the

controversy, of the construction of any statute, municipal ordinance, or other governmental

regulation . . . and a declaration of the rights of the parties interested.”

        84.   The parties herein are interested parties.

        85.   There exists a case of actual controversy in that the Defendants have collected

substantial sums of money pursuant to an invalid and unenforceable ordinance and will

not return any of the wrongfully collected funds without a declaration of the parties’ rights

herein.

        WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully pray that the Court issue the following relief:

              A)      Certify this law suit as a class action;

              B)      Appoint undersigned counsel as class counsel;


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              C)     Construct a trust of all funds wrongfully taken by the Defendants;

              D)     Appoint a trustee to supervise an accounting, to take control of all
                     wrongfully taken funds, and to supervise the relief to be ordered by
                     the Court;

              E)     Enter judgment against the Defendants to disgorge all wrongfully
                     taken funds with pre-judgment interest;

              F)     Award attorneys’ fees and such other relief as this Court deems just
                     and proper.

                                        COUNT III

                    (Violations of Equal Protection Provisions of the
                      Illinois Constitution (Leasing Classification))

       1-85. Plaintiffs replead paragraphs 1 through 85 above as paragraphs 1 through 85

of this Count III with the same force and effect as though fully set forth herein.

       86.    Article I, Section 2 of the Illinois Constitution provides as follows:

              No person shall be deprived of life, liberty or property without due process
              of law nor be denied the equal protection of the laws.

       87.    The City’s “Red Light” program as described above violates the equal

protection rights of the named plaintiffs and putative class plaintiffs by treating the

registered owners of non-leased vehicles or registered owners of leased or loaned vehicles

without a written lease agreement differently than the registered owners of leased vehicles

with a written lease agreement.

       88.    Pursuant to Section 9-102-020(a)(3) of the Chicago Municipal Code, it shall

be a defense to a violation of this section that . . . the vehicle was leased to another, and,

within 60 days after the citation was mailed to the owner, the owner submitted to the


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department of revenue the correct name and address of the lessee of the vehicle identified

in the citation at the time of the violation, together with a copy of the lease agreement . . .

Where the lessor complies with the provisions of this section, the lessee of the vehicle shall

be deemed to be the owner of the vehicle for purposes of this chapter.”

        89.   Pursuant to Section 9-102-020(a)(3) of the Chicago Municipal Code, motor

vehicle dealerships and manufacturers who lease cars to third parties pursuant to a written

lease agreement will not be found liable whereas a registered vehicle owner who leases a

car to a third party without a written lease agreement does not have a defense to the

ordinance.

        90.   Additionally, pursuant to Section 9-102-020(a)(3), taxicab companies who

own their fleet of vehicles and lease such vehicles out to third party operators, even with

written lease agreements, do not have a defense to the ordinance.

        91.   The classifications contained within Section 9-102-020 of the Chicago

Municipal Code and its related Sections, which distinguish motor vehicle dealerships and

manufacturers from all other vehicle owners, lack any rational basis, and render the

ordinance invalid on its face and unenforceable.

        92.   The City of Chicago has collected hundreds of thousands or millions of

dollars through its unlawful enforcement of Section 9-102-020 of the Chicago Municipal

Code.




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       93.    The payment of all fines and penalties by registered owners of vehicles

pursuant to Section 9-102-020 of the Chicago Municipal Code and its related ordinances

constituted payments made under duress and not made voluntarily.

       94.    Section 2-701 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-701,

provides that “[t]he Court may, in cases of actual controversy, make binding declarations

of rights, having the force of final judgments, whether or not any consequential relief is or

could be claimed, including the determination, at the instance of anyone interested in the

controversy, of the construction of any statute, municipal ordinance, or other governmental

regulation . . . and a declaration of the rights of the parties interested.”

       95.    The parties herein are interested parties.

       96.    There exists a case of actual controversy in that the Defendants have collected

substantial sums of money pursuant to an invalid and unenforceable ordinance and will

not return any of the wrongfully collected funds without a declaration of the parties’ rights

herein.

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully pray that the Court issue the following relief:

              A)      Certify this law suit as a class action;

              B)      Appoint undersigned counsel as class counsel;

              C)      Construct a trust of all funds wrongfully taken by the Defendants;

              D)      Appoint a trustee to supervise an accounting, to take control of all
                      wrongfully taken funds, and to supervise the relief to be ordered by
                      the Court;


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             E)     Enter judgment against the Defendants to disgorge all wrongfully
                    taken funds with pre-judgment interest;

             F)     Award attorneys’ fees and such other relief as this Court deems just
                    and proper.

                                       COUNT IV

                   (Violations of Equal Protection Provisions of the
             Illinois Constitution (Ordinance Prosecution Classification))

      1-96. Plaintiffs replead paragraphs 1 through 96 above as paragraphs 1 through 96

of this Count IV with the same force and effect as though fully set forth herein.

      97.    Article I, Section 2 of the Illinois Constitution provides as follows:

             No person shall be deprived of life, liberty or property without due process
             of law nor be denied the equal protection of the laws.

      98.    The City’s “Red Light” program as described above violates the equal

protection rights of the named plaintiffs and putative class plaintiffs by treating persons

or entities prosecuted under the Red Light Program differently than persons or entities

prosecuted by the State of Illinois under 625 ILCS 5/11-305(a) or 625 ILCS 5/11-306.

      99.    Pursuant to Chapter 9-102 of the Chicago Municipal Code and the rules and

regulations promulgated thereunder, a registered owner of a vehicle that violates the Red

Light ordinance, where such owner was also the operator of the allegedly offending

vehicle, is fined $90 upon each conviction, regardless of how many such violations the

driver had previously committed.

      100.   For exactly the same conduct (violating a red traffic-signal) prosecuted under

625 ILCS 5/11-305(a) or 625 ILCS 5/11-306, the driver would be guilty of a “petty offense”


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(fine only) for the first or second conviction, and the driver would be guilty of a Class C

misdemeanor (fine/ points off license/other penalties) for the third and all subsequent

convictions occurring within 1 year of the first conviction.

        101.   The classification contained within Section 9-102-020 of the Chicago

Municipal Code and its related Sections, which require a different treatment than the same

offense prosecuted under a state statute, lacks any rational basis, and renders the ordinance

invalid on its face and unenforceable.

        102.   The City of Chicago has collected hundreds of thousands or millions of

dollars through its unlawful enforcement of Section 9-102-020 of the Chicago Municipal

Code.

        103.   The payment of all fines and penalties by registered owners of vehicles

pursuant to Section 9-102-020 of the Chicago Municipal Code and its related ordinances

constituted payments made under duress and not made voluntarily.

        104.   Section 2-701 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-701,

provides that “[t]he Court may, in cases of actual controversy, make binding declarations

of rights, having the force of final judgments, whether or not any consequential relief is or

could be claimed, including the determination, at the instance of anyone interested in the

controversy, of the construction of any statute, municipal ordinance, or other governmental

regulation . . . and a declaration of the rights of the parties interested.”

        105.   The parties herein are interested parties.




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       106.   There exists a case of actual controversy in that the Defendants have collected

substantial sums of money pursuant to an invalid and unenforceable ordinance and will

not return any of the wrongfully collected funds without a declaration of the parties’ rights

herein.

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully pray that the Court issue the following relief:

              A)     Certify this law suit as a class action;

              B)     Appoint undersigned counsel as class counsel;

              C)     Construct a trust of all funds wrongfully taken by the Defendants;

              D)     Appoint a trustee to supervise an accounting, to take control of all
                     wrongfully taken funds, and to supervise the relief to be ordered by
                     the Court;

              E)     Enter judgment against the Defendants to disgorge all wrongfully
                     taken funds with pre-judgment interest;

              F)     Award attorneys’ fees and such other relief as this Court deems just
                     and proper.

                                        COUNT V

                      (Violations of Due Process Provision of the
                           Illinois Constitution (Procedural))

       1-106. Plaintiffs replead paragraphs 1 through 106 above as paragraphs 1 through

106 of this Count V with the same force and effect as though fully set forth herein.

       107.   Article I, Section 2 of the Illinois Constitution provides as follows:

              No person shall be deprived of life, liberty or property without due process
              of law nor be denied the equal protection of the laws.


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        108.   The City’s “Red Light” program as described above violates the procedural

due process rights of the named plaintiffs and putative class plaintiffs by, in a quasi-

criminal proceeding, establishing a conclusive presumption of liability without affording

plaintiffs and putative class plaintiffs any opportunity to defend themselves as long as: i)

the actual driver was not issued a citation; ii) the vehicle was not stolen; or iii) the vehicle

was not leased by a vehicle dealership or manufacturer pursuant to a written lease

agreement.

        109.   Vehicle owners are not afforded meaningful notice or a meaningful

opportunity to be heard because they cannot defend the Complaint by arguing that they

were not operating the vehicle when it allegedly violated a red traffic-signal. Further,

vehicle owners cannot obtain a jury trial, which constitutes a further procedural due

process violation.

        110.   In addition, the City’s enforcement of the Red Light program requires the use

of evidence obtained in violation of 5 ILCS 305/1, which evidence is statutorily

inadmissible pursuant to 5 ILCS 305/1.

        111.   The lack of appropriate procedural safeguards contained within Section 9-

102-020 of the Chicago Municipal Code and its related Sections renders it invalid on its face

and unenforceable.

        112.   The City of Chicago has collected hundreds of thousands or millions of

dollars through its unlawful enforcement of Section 9-102-020 of the Chicago Municipal

Code.


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       113.   The payment of all fines and penalties by registered owners of vehicles

pursuant to Section 9-102-020 of the Chicago Municipal Code and its related ordinances

constituted payments made under duress and not made voluntarily.

       114.   Section 2-701 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-701,

provides that “[t]he Court may, in cases of actual controversy, make binding declarations

of rights, having the force of final judgments, whether or not any consequential relief is or

could be claimed, including the determination, at the instance of anyone interested in the

controversy, of the construction of any statute, municipal ordinance, or other governmental

regulation . . . and a declaration of the rights of the parties interested.”

       115.   The parties herein are interested parties.

       116.   There exists a case of actual controversy in that the Defendants have collected

substantial sums of money pursuant to an invalid and unenforceable ordinance and will

not return any of the wrongfully collected funds without a declaration of the parties’ rights

herein.

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully pray that the Court issue the following relief:

              A)      Certify this law suit as a class action;

              B)      Appoint undersigned counsel as class counsel;

              C)      Construct a trust of all funds wrongfully taken by the Defendants;

              D)      Appoint a trustee to supervise an accounting, to take control of all
                      wrongfully taken funds, and to supervise the relief to be ordered by
                      the Court;


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               E)    Enter judgment against the Defendants to disgorge all wrongfully
                     taken funds with pre-judgment interest;

               F)    Award attorneys’ fees and such other relief as this Court deems just
                     and proper.

                                        COUNT VI

                        (Conflict with Chicago Municipal Code)

        1-116. Plaintiffs replead paragraphs 1 through 116 above as paragraphs 1 through

116 of this Count VI with the same force and effect as though fully set forth herein.

        117.   Sections 9-18-020 and 9-16-030(c) of the Chicago Municipal Code provide that

traffic-control signals shall apply only to drivers.

        118.   Chapter 9-102 of the Chicago Municipal Code conflicts with the above

provisions of the Chicago Municipal Code by creating traffic-control signal violations for

registered owners of allegedly offending vehicles.

        119.   The conflicts contained within Section 9-102-020 of the Chicago Municipal

Code and its related Sections renders it invalid on its face and unenforceable.

        120.   The City of Chicago has collected hundreds of thousands or millions of

dollars through its unlawful enforcement of Section 9-102-020 of the Chicago Municipal

Code.

        121.   The payment of all fines and penalties by registered owners of vehicles

pursuant to Section 9-102-020 of the Chicago Municipal Code and its related ordinances

constituted payments made under duress and not made voluntarily.




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       122.   Section 2-701 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-701,

provides that “[t]he Court may, in cases of actual controversy, make binding declarations

of rights, having the force of final judgments, whether or not any consequential relief is or

could be claimed, including the determination, at the instance of anyone interested in the

controversy, of the construction of any statute, municipal ordinance, or other governmental

regulation . . . and a declaration of the rights of the parties interested.”

       123.   The parties herein are interested parties.

       124.   There exists a case of actual controversy in that the Defendants have collected

substantial sums of money pursuant to an invalid and unenforceable ordinance and will

not return any of the wrongfully collected funds without a declaration of the parties’ rights

herein.

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully pray that the Court issue the following relief:

              A)      Certify this law suit as a class action;

              B)      Appoint undersigned counsel as class counsel;

              C)      Construct a trust of all funds wrongfully taken by the Defendants;

              D)      Appoint a trustee to supervise an accounting, to take control of all
                      wrongfully taken funds, and to supervise the relief to be ordered by
                      the Court;

              E)      Enter judgment against the Defendants to disgorge all wrongfully
                      taken funds with pre-judgment interest;

              F)      Award attorneys’ fees and such other relief as this Court deems just
                      and proper.


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                                           COUNT VII

                                     (42 U.S.C. §§ 1983, 1988)

       1-124. Plaintiffs replead paragraphs 1 through 124 above as paragraphs 1 through

124 of this Count VII with the same force and effect as though fully set forth herein.

       125.       At all times relevant herein, by prosecuting alleged Red Light Complaints

pursuant to City ordinances, Defendants acted under color of law.

       126.       At all times relevant herein, Defendants’ acts or omissions were intentional.

       127.       At all times relevant herein, Plaintiffs had a right under the due process and

equal protection clauses of the state and federal constitutions not to be deprived of their

constitutionally protected interest in their property. U.S.C. Const. Amend. 14; Ill. Const.

Art. 1, Sec. 2.

       128.       At all times relevant herein, Defendants were state actors and their conduct

was subject to 42 U.S.C. §§ 1983 and 1988.

       129.       As a result of Defendants’ concerted unlawful and malicious conduct,

Plaintiffs were both deprived of their rights to equal protection of all the laws and to due

process of law, of their right to their property, and the due course of justice was impeded,

in violation of the Fourteenth Amendment of the Constitution of the United States and 42

U.S.C. § 1983.

       130.       Plaintiffs have incurred damages in the form of paid fines to Defendants as

a direct result of Defendants’ acts or omissions.




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         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully pray that the Court issue the following relief:

                A)    Certify this law suit as a class action;

                B)    Appoint undersigned counsel as class counsel;

                C)    Construct a trust of all funds wrongfully taken by the Defendants;

                D)    Appoint a trustee to supervise an accounting, to take control of all
                      wrongfully taken funds, and to supervise the relief to be ordered by
                      the Court;

                E)    Enter judgment against the Defendants to disgorge all wrongfully
                      taken funds with pre-judgment interest;

                F)    Award attorneys’ fees and such other relief as this Court deems just
                      and proper.

                                        COUNT VIII

                      (Preliminary and Permanent Injunctive Relief)

         131.   Plaintiffs replead paragraphs 1 through 136 above as paragraphs 1 through

136 of this Count VIII with the same force and effect as though fully set forth herein.

         132.   Defendants’ continued enforcement of Chapter 9-102 of the Municipal Code

of Chicago constitutes a continuing violation of state, local and federal laws as set forth

above.

         133.   Defendants’ continued unlawful enforcement of Chapter 9-102 of the

Municipal Code of Chicago must be preliminarily and permanently enjoined to prevent

further deprivations of the rights of alleged offenders.




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       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully pray that the Court issue the following relief:

              A)      Certify this law suit as a class action;

              B)      Appoint undersigned counsel as class counsel;

              C)      Construct a trust of all funds wrongfully taken by the Defendants;

              D)      Appoint a trustee to supervise an accounting, to take control of all
                      wrongfully taken funds, and to supervise the relief to be ordered by
                      the Court;

              E)      Enter judgment against the Defendants to disgorge all wrongfully
                      taken funds with pre-judgment interest;

              F)      Enjoin Defendants’ enforcement of Chapter 9-102 of the Chicago
                      Municipal Code;

              G)      Award attorneys’ fees and such other relief as this Court deems just
                      and proper.

                                         COUNT IX

                                  (Declaratory Judgment)

       1-133. Plaintiff City of Chicago ex rel. Robert Green realleges and incorporates by

reference herein Paragraphs 1 through 133 above as Paragraphs 1 through 133 herein.

       134.   At all times relevant hereto, including both before and after May 22, 2006, the

act of a driver failing to obey a red traffic signal constituted a criminal offense pursuant to

625 ILCS 5/11-305 and other Illinois statutes.

       135.   At all times relevant hereto, including both before and after May 22, 2006, the

act of a driver failing to obey a red traffic signal in the City of Chicago constituted a quasi-

criminal offense pursuant to 9-102-020 of the Chicago Municipal Code.

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        136.      Pursuant to the Agreements entered into between the City of Chicago and

Defendant Redflex on or about October 17, 2003 and October 22, 2005, Defendant Redflex

agreed to, was obligated to and did in fact collect, examine and evaluate in a detailed

manner evidence that it collected related to whether drivers throughout the City of Chicago

failed to obey red traffic signals at intersections where Redflex had installed Digital

Automated Red Light Enforcement Systems.

        137.      Pursuant to the Agreements entered into between the City of Chicago and

Defendant Redflex on or about October 17, 2003 and October 22, 2005, Redflex’

compensation was based in part on Redflex meeting an 85% success rate with being able

to provide the City of Chicago with “Enforceable Images”, defined as images being “of

sufficient clarity and contains such information as is necessary . . . for the City to issue a

citation . . .”

        138.      Pursuant to 9-102-020 of the Chicago Municipal Code, an Enforceable Image

constitutes prima facie evidence of a red light violation.

        139.      In violation of 5 ILCS 305/1, the City and its agents, which are and have been

investigating the commission of a crime or quasi-crime in the form of alleged red light

violations, have employed an investigator (Redflex) on a compensation basis other than

that of time and have made such compensation to Redflex partially contingent on the

success of Redflex’ investigation and the City’s prosecution of alleged red light violations.

        140.      The Agreements between the City and Redflex are void pursuant to 5 ILCS

305/1 and as a matter of public policy.


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       141.   Any demand made to the City of Chicago by Plaintiff Robert Green for the

City to sue Redflex for a return of City monies paid to Redflex pursuant to the Agreements

would be futile. Among other things, the City has taken the position in this litigation by

moving to dismiss Plaintiffs’ claims that the red light traffic enforcement system, including

9-102-020 of the Chicago Municipal Code, is valid and enforceable. Further, the City has

invested millions of dollars in the red light enforcement program, including its Agreements

with Redflex and has collected tens of millions of dollars through its unlawful enforcement

of the program. The City is inadequately protecting the public interest and it is not going

to invalidate its Agreements with Redflex.

       142.   The City’s past and ongoing payments of over $16,000,000.00 pursuant to its

Agreements with Redflex were and continue to be unlawful and void.

       143.   Section 2-701 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-701,

provides that “[t]he Court may, in cases of actual controversy, make binding declarations

of rights, having the force of final judgments, whether or not any consequential relief is or

could be claimed, including the determination, at the instance of anyone interested in the

controversy, of the construction of any statute, municipal ordinance, or other governmental

regulation . . . and a declaration of the rights of the parties interested.”

       144.   The parties herein are interested parties.

       145.   There exists a case of actual controversy in that the Defendants have collected

substantial sums of money pursuant to an invalid and unenforceable ordinance and will




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not return any of the wrongfully collected funds without a declaration of the parties’ rights

herein.

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully pray that the Court issue the following relief:

              A)     Certify this law suit as a class action;

              B)     Appoint undersigned counsel as class counsel;

              C)     Construct a trust of all funds wrongfully taken by the Defendants;

              D)     Appoint a trustee to supervise an accounting, to take control of all
                     wrongfully taken funds, and to supervise the relief to be ordered by
                     the Court;

              E)     Declare all Agreements between and among Defendants void and
                     unenforceable;

              F)     Enter judgment against the Defendants to disgorge all wrongfully
                     taken funds with pre-judgment interest;

              G)     Award attorneys’ fees and such other relief as this Court deems just
                     and proper.


                                           PARVEEN IDRIS, BINDER ELECTRIC SERVICE
                                           CO., and KJJ ENTERPRISE INC., individually
                                           and on behalf of all others similarly situated, and
                                           CITY OF CHICAGO EX REL. ROBERT GREEN




                                           By: ________________________________
                                                        One of their attorneys



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